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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA


 Allen Peterson,                              Civil No.: 0:19-cv-83

              Plaintiff,                      Judge: Donovan W. Frank

 v.                                           Magistrate: Tony N. Leung

 SMG, a Pennsylvania General
 Partnership, Metropolitan Sports             RULE 26(f) REPORT AND PROPOSED
 Facilities Authority, and Hansen Bros.             SCHEDULING ORDER
 Fence, Inc.,

              Defendants.


      The counsel identified below conferred as required by Fed. R. Civ. P. 26(f) and the
Local Rules, on April 30, 2019, and prepared the following report.

       The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2 is
scheduled for May 20, 2019, before the United States Magistrate Judge Tony Leung in
Room 9W, of the U.S. Courthouse in Minneapolis, Minnesota. The parties request that
the pretrial be held by telephone.

(a)   Description of the Case.

      (1)    Concise factual summary of plaintiff’s claims:

             The plaintiff claims damages for personal injury suffered in a fall that
             he alleges was caused by a dangerous condition on premises
             controlled by MFSA and SMG, specifically a fence support that was
             placed there by Hansen Bros. Fence.

      (2)    Concise factual summary of defendant’s claims/defenses:

             Metropolitan Sports Facilities Authority (MSFA) and SMG

             Defendants MSFA and SMG respectively own and manage U.S. Bank
             Stadium. U.S. Bank Stadium contracted with co-defendant Hansen
             Bros. Fence, Inc. to put up temporary crowd control fencing. Both
             MSFA and SMG deny the fencing constituted a dangerous condition
             on the property.
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            Hansen Bros. Fence, Inc.

            Defendant Hansen Bros. Fence, Inc. denies that it was negligent in the
            installation of the fence and denies that it has any duty or liability with
            respect to the condition of the premises. Hansen Bros. Fence is still
            evaluating additional defenses at this time, including but not limited
            to the contributory fault and negligence of the Plaintiff.

      (3)   Statement of jurisdiction (including statutory citations):

            This is a diversity case. The plaintiff is a citizen of the state of Montana.
            None of the defendants is a citizen of the state of Montana.
            Jurisdiction is under 28 U.S.C. 1332(a)(1). Venue is proper under 28
            U.S.C. 1391(b)(2) because the events giving rise to the action took
            place within Minnesota.

      (4)   Summary of factual stipulations or agreements:

      (5)   Statement of whether a jury trial has been timely demanded by any party:

            A timely jury demand has been made by Plaintiff and Defendants
            MSFA and SMG.

      (6)   Statement as to whether the parties agree to resolve the matter under the
            Rules of Procedure for Expedited Trials of the United States District Court,
            District of Minnesota, if applicable:

            The parties do not agree to resolve the matter under the Rules of
            Procedure for Expedited Trials.

(b)   Pleadings.

      Statement as to whether all process has been served, all pleadings filed and
      any plan for any party to amend pleadings or add additional parties to the
      action:

(c)   Fact Discovery.

      The parties recommend that the Court establish the following fact discovery
      deadlines and limitations:

      (1)   The parties must make their initial disclosures under Fed. R. Civ. P. 26(a)(1)
            on or before May 24, 2019.

      (2)   The parties must complete any physical or mental examinations under
            Fed. R. Civ. P. 35 by March 2, 2020.



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      (3)   The parties must commence fact discovery procedures in time to be
            completed by February 21, 2020.

      (4)   The parties propose that the Court limit the use and numbers of discovery
            procedures as follows:

            (A)   25       interrogatories;

            (B)   15      _ document requests;

            (C)   10      _ factual depositions;

            (D)   15      _ requests for admissions;

            (E)   2       _ Rule 35 medical examinations; and

            (F)   N/A      other.

(d)   Expert Discovery.

      (1)   The parties anticipate that they [will/will not] require expert witnesses at the
            time of trial.

            (A)    The plaintiff anticipates calling (3) experts in the fields of:

                   The plaintiff anticipates calling his treating physicians as well
                   as three (3) experts in the fields of Orthopedic Medicine, Human
                   Factors, and Premises Liability/Facility Management.

            (B)    The defendant anticipates calling (2) experts in the fields of:

                   Orthopedics and Premises Liability/Facility Management

      (2)   The parties propose that the Court establish the following plan for expert
            discovery:

            (A)    Initial experts.

                   (i)     Plaintiff shall disclose the identity of any expert who may testify
                           at the time of trial and provide a written report in accordance
                           with Fed. R. Civ. P. 26(a)(2)(B) on or before February 28,
                           2020.

                   (ii)    Defendants shall disclose any expert who may testify at the
                           time of trial and provide a written report in accordance with
                           Fed. R. Civ. P. 26(a)(2)(B) on or before March 27, 2020.



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            (B)    Rebuttal experts.

                   (i)     The identity of any experts who may testify in rebuttal to any
                           initial expert must be disclosed on or before April 15, 2020.

                   (ii)    Any rebuttal expert’s written report completed in accordance
                           with Fed. R. Civ. P. 26(a)(2)(B) must be served on or before
                           April 30, 2020.

      (3)   All expert discovery must be completed by May 1, 2020.

(e)   Other Discovery Issues.

      (1)   Protective Order. The parties have discussed whether they believe that a
            protective order is necessary to govern discovery and jointly submit a
            [proposed protective order/report identifying areas of disagreement].

            The parties do not anticipate the need for a protective order.

      (2)   Discovery of Electronically Stored Information. The parties have discussed
            disclosure, discovery, and preservation of electronically stored information,
            including the form in which it should be produced. The parties have reached
            the following agreements and identified the following issues:

            The parties do not anticipate any issues with discovery of
            electronically stored information.

      (3)   Claims of Privilege or Protection. The parties have discussed issues
            regarding the protection of information by a privilege or the work-product
            doctrine, as required by Fed. R. Civ. P. 26(f)(3)(D), including whether the
            parties agree to a procedure to assert these claims after production or have
            any other agreements under Fed. R. Evidence 502. The parties request the
            Court to include the following agreement in the scheduling order:

            The parties agree to make privilege and work product objections at the
            time of serving discovery responses and to provide a privilege log for
            documents alleged to be protected.

      (4)   The parties:

                 agree that a party should be required to request an informal
            conference with the Court before filing a discovery motion;

                 agree that a party should not be required to request an informal
            conference with the Court before filing a discovery motion; or




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                  do not agree whether a party should be required to request an
             informal conference with the Court before filing a discovery motion.

(f)   Proposed Motion Schedule.

      The parties propose the following deadlines for filing motions:

      (1)    Motions seeking to join other parties must be filed and served by July 1,
             2019.

      (2)    Motions seeking to amend the pleadings must be filed and served by
             September 1, 2019.

      (3)    All other non-dispositive motions must be filed and served by May 1, 2020.

      (4)    All dispositive motions must be filed and served by June 1, 2020.

(g)   Trial-Ready Date.

      (1 )   The parties agree that the case will be ready for trial on or after September
             1, 2020.

      (2 )   The parties propose that the final pretrial conference be held on or before
             September 1, 2020.

(h)   Insurance Carriers/Indemnitors.

      Berkshire Hathaway Specialty Insurance – MSFA and SMG
      Capitol Indemnity Corporation – Hansen Bros. Fence

(i)   Settlement.

      The parties will discuss settlement before the initial pretrial conference, by the
      plaintiff making a written demand for settlement and each defendant making a
      written response/offer to the plaintiff’s demand.

            The parties propose that a settlement conference be scheduled to take
             place before September 1, 2020.

            The parties have discussed whether alternative dispute resolution will be
             helpful to the resolution of this case and recommend the following:

             Private Mediation




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(j)   Trial by Magistrate Judge.

      The parties have not agreed to consent to jurisdiction by the Magistrate Judge
      under 28 U.S.C. § 636(c), the consent form has been filed contemporaneously with
      this Rule 26(f) Report.


Dated: May 6, 2019.                           JOHNSON & SUNDEEN

                                              /s/ Ariston E. Johnson
                                              Ariston E. Johnson (#0389485)
                                              P.O. Box 1260
                                              Watford City, ND 58854
                                              ari@dakotalawdogs.com
                                              (701) 444-2211

                                              Attorneys for Plaintiff Allen Peterson




Dated: May 6, 2019.                           MEAGHER & GEER, P.L.L.P.

                                              /s/ John C. Hughes
                                              John C. Hughes (#185929)
                                              33 South Sixth Street, Suite 4400
                                              Minneapolis, MN 55402
                                              jhughes@meagher.com
                                              (612) 338-0661

                                              Attorneys for Defendants SMG and
                                              Metropolitan Sports Facilities Authority




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Dated: May 6, 2019.                       GREGERSON, ROSOW, JOHNSON &
                                          NILAN, LTD.

                                          /s/ Daniel A. Ellerbrock
                                          Joseph A. Nilan (#121277)
                                          Daniel A. Ellerbrock (#390239)
                                          100 Washington Avenue South
                                          Suite 1550
                                          Minneapolis, MN 55401
                                          jnilan@grjn.com
                                          dellerbrock@grjn.com
                                          (612) 338-0755

                                          Attorneys for Defendant Hansen Bros.
                                          Fence




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